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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

MICROCHIP TECHNOLOGY INC.                            )
                                                     )
                Plaintiff,                           )
                                                     )
       v.                                            )       C.A. No. 17-01194-JDW
                                                     )
APTIV SERVICES US, LLC,                              )
                                                     )
                Defendant.                           )


                        DEFENDANT APTIV SERVICES US, LLC’S
                       MOTION FOR LEAVE TO FILE UNDER SEAL

       Defendant Aptiv Services US, LLC (“Aptiv”), by and through its undersigned attorneys,

files this motion for leave to file the exhibits to its motions in limine under seal (“Motion”).

       Plaintiff Microchip Technology Inc. (“Microchip”) has indicated that the supporting

exhibits to Aptiv’s motions in limine contain information that is properly designated “Highly

Confidential – Attorneys’ Eyes Only.” Aptiv takes no position as to the confidentiality of the

material designated by Microchip, and requests leave to file under seal solely to remain in

compliance with the Protective Order in this case. Microchip will file its own declaration in

support of sealing the exhibits.

       Filed contemporaneously with this Motion are redacted versions of the exhibits. The

proposed under seal exhibits will be submitted separately to the Court.
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